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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                96 Wythe Acquisition LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  679 Driggs Ave                                                  679 Driggs Ave
                                  Brooklyn, NY 11211                                              Brooklyn, NY 11211
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  96 Wythe Ave Brooklyn, NY 11249
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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                                                                      Pg 2 of 16
Debtor    96 Wythe Acquisition LLC                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 72

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   96 Wythe Acquisition LLC                                                                  Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    96 Wythe Acquisition LLC                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 23, 2021
                                                  MM / DD / YYYY


                             X   /s/ David Goldwasser                                                     David Goldwasser
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Chief Restructuring Officer




18. Signature of attorney    X   /s/ Mark Frankel                                                          Date February 23, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark Frankel
                                 Printed name

                                 Backenroth Frankel & Krinsky, LLP
                                 Firm name

                                 800 Third Avenue
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 593-1100                Email address      mfrankel@bfklaw.com

                                 8417 NY
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     96 Wythe Acquisition LLC                                                           Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                     Chapter     11
                                                                                                                            Check if this an
                                                                                                                            amended filing




                                                        FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     232 Seigel Acquisition LLC                                                Relationship to you               Affiliate
District   Southern District of New York               When     7/14/20              Case number, if known             20-22845
Debtor     232 Seigel Development LLC                                                Relationship to you               Affilliate
District   Southern District of New York               When     7/14/20              Case number, if known             20-22844
Debtor     MY2011 Grand LLC                                                          Relationship to you               Affiliate
           SOUTHERN DISTRICT OF NEW
District   YORK                                        When     11/06/19             Case number, if known             19-23957
Debtor     S & B Monsey LLC                                                          Relationship to you               Affiliate
District   Souther Disctrict of New York               When     11/06/19             Case number, if known             19-23959




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 Fill in this information to identify the case:

 Debtor name         96 Wythe Acquisition LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 23, 2021                       X /s/ David Goldwasser
                                                                       Signature of individual signing on behalf of debtor

                                                                       David Goldwasser
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name 96 Wythe Acquisition LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 B In Power Inc.                                                                        Disputed                                                                        $231,558.37
 199 Lee Ave
 Suite 214
 Brooklyn, NY 11211
 Benefit Street                                                  96 Wythe Avenue        Disputed               $68,000,000.00                          $0.00        $68,000,000.00
 Partners Realty                                                 Brooklyn, NY
 Operating                                                       11249
 Partnership L.P.
 142 W. 57th Street
 Suite 1201
 New York, NY 10019
 Decorative Home NY                                                                     Disputed                                                                          $20,000.00
 Inc
 944 McDonald Ave
 Brooklyn, NY 11218
 Dynamic Electric                                                                       Disputed                                                                          $30,000.00
 1046 Winthrop
 Street
 Brooklyn, NY 11212
 FIA HERITAGE                                                                                                                                                         $3,085,773.21
 HOLDINGS, LLC
 7280 West Palmetto
 Park Road
 Boca Raton, FL
 33433
 International Tile                                                                     Disputed                                                                          $10,000.00
 703 Myrtle Ave
 Brooklyn, NY 11205
 KJ Artistic Inc                                                                        Disputed                                                                          $20,000.00
 105 Sanford St Suite
 101
 Brooklyn, NY 11205
 NYC Dept. of                                                                           Disputed                 $3,092,874.62                         $0.00               Unknown
 Finance
 P.O. Box 680
 Newark, NJ
 07101-0680


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    96 Wythe Acquisition LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 OES - Williamsburg                                                                     Disputed                                                                      $4,000,000.00
 Hotel LLC
 160 Water Street
 Brooklyn, NY 11201
 Velocity Framers                                                                       Disputed                                                                      $1,500,000.00
 5014 16th Ave
 Suite 468
 Brooklyn, NY 11204




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            96 Wythe Acquisition LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                          Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                      12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                     $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                        $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                       $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $       71,092,874.62


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$        8,897,331.58


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                              $         79,990,206.20




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                    page 1
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      96 Wythe Acquisition LLC                                                                                  Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 96 Wythe Borrower DE LLC                                                             .5%                                        Membership
 679 Driggs Ave
 Brooklyn, NY 11211

 96 Wythe Mezz DE LLC                                                                 99.5%                                      Membership
 679 Driggs Ave
 Brooklyn, NY 11211


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date February 23, 2021                                                      Signature /s/ David Goldwasser
                                                                                            David Goldwasser

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      96 Wythe Acquisition LLC                                                                      Case No.
                                                                                   Debtor(s)              Chapter       11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Restructuring Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       February 23, 2021                                          /s/ David Goldwasser
                                                                        David Goldwasser/Chief Restructuring Officer
                                                                        Signer/Title




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                           Internal Revenue Service
                           c/o US Attorney Claims Unit
                           One Saint Andrews Plaza Rm 417
                           New York, NY 10007


                           Office of The United States Trustee
                           U.S. Federal Office Building
                           201 Varick Street
                           Suite 1006
                           New York, NY 10014


                           United States of America
                           c/o U.S. Attorney
                           86 Chambers Street
                           New York, NY 10007


                           NYS Dept of Tax & Finance
                           Bankruptcy Unit
                           PO Box 5300
                           Albany, NY 12205


                           State of New York
                           Attorney General's Office
                           120 Broadway
                           New York, NY 10271


                           City of New York
                           NYC Law Department
                           100 Church St
                           New York, NY 10007


                           NYC Department of Finance
                           66 John Street
                           New York, NY 10038


                           Backenroth Frankel & Krinsky
                           800 Third Avenue
                           11th Floor
                           New York, NY 10022


                           NYC Dept. of Environmental Protection
                           59-17 Junction Blvd
                           13th Floor
                           Elmhurst, NY 11373
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                       B In Power Inc.
                       199 Lee Ave
                       Suite 214
                       Brooklyn, NY 11211


                       Benefit Street Partners Realty Operating
                       Partnership L.P.
                       142 W. 57th Street
                       Suite 1201
                       New York, NY 10019


                       Decorative Home NY Inc
                       944 McDonald Ave
                       Brooklyn, NY 11218


                       Dynamic Electric
                       1046 Winthrop Street
                       Brooklyn, NY 11212


                       FIA HERITAGE HOLDINGS, LLC
                       7280 West Palmetto Park Road
                       Boca Raton, FL 33433


                       International Tile
                       703 Myrtle Ave
                       Brooklyn, NY 11205


                       KJ Artistic Inc
                       105 Sanford St Suite 101
                       Brooklyn, NY 11205


                       NYC Dept. of Finance
                       P.O. Box 680
                       Newark, NJ 07101-0680


                       OES - Williamsburg Hotel LLC
                       160 Water Street
                       Brooklyn, NY 11201


                       Velocity Framers
                       5014 16th Ave
                       Suite 468
                       Brooklyn, NY 11204
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      96 Wythe Acquisition LLC                                                                      Case No.
                                                                                   Debtor(s)              Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 96 Wythe Acquisition LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 96 Wythe Mezz DE LLC
 679 Driggs Ave
 Brooklyn, NY 11211




    None [Check if applicable]




 February 23, 2021                                                    /s/ Mark Frankel
 Date                                                                 Mark Frankel
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for 96 Wythe Acquisition LLC
                                                                      Backenroth Frankel & Krinsky, LLP
                                                                      800 Third Avenue
                                                                      New York, NY 10022
                                                                      (212) 593-1100 Fax:(212) 644-0544
                                                                      mfrankel@bfklaw.com




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      96 Wythe Acquisition LLC                                                                        Case No.
                                                                                  Debtor(s)                 Chapter     11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

       I, David Goldwasser, declare under penalty of perjury that I am the Chief Restructuring Officer of 96 Wythe
Acquisition LLC,and that the following is a true and correct copy of the resolutions adopted at a special meeting
duly called and held on the 22nd day of February, 2021. 96 Wythe Mezz DE LLC and 96 Wythe Borrower DE
LLC, the Debtor's members, by Toby Moskovits and Michael Lichtenstein, agreed:

       "Whereas, it is in the best interest of the LLC to file a voluntary petition in the United States Bankruptcy
Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that David Goldwasser, as Chief Restructuring Officer, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case; and

        Be It Further Resolved, that David Goldwasser, Chief Restructuring Officer, is authorized and directed to
appear in all bankruptcy proceedings, and to otherwise do and perform all acts and deeds and to execute and
deliver all necessary documents in connection with such bankruptcy case, and

      Be It Further Resolved, that David Goldwasser, Chief Restructuring Officer is authorized and directed to
employ the law firm of Backenroth Frankel & Krinsky, LLP in such bankruptcy case."

 Date 2.22.2021                                                                 Signed s/David Goldwasser
                                                                                         David Goldwasser




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                         96 Wythe Acquisition LLC




      Whereas, it is in the best interest of this LLC to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that David Goldwasser, Chief Restructuring Officer, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case; and

        Be It Further Resolved, that David Goldwasser, Chief Restructuring Officer is authorized and directed to
appear in all bankruptcy proceedings, and to otherwise do and perform all acts and deeds and to execute and
deliver all necessary documents in connection with such bankruptcy case, and

      Be It Further Resolved, that David Goldwasser, Chief Restructuring Officer, is authorized and directed to
employ the law firm of Backenroth Frankel & Krinsky, LLP in such bankruptcy case.




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